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                               13   Inc., Shreya Health of Arizona, Inc., Vedanta Laboratories, Inc.
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                               14                        UNITED STATES DISTRICT COURT
                               15                      CENTRAL DISTRICT OF CALIFORNIA
                               16   DUAL DIAGNOSIS TREATMENT                )        Case No.: 2:20-cv-04112-DSF-PVC
                                    CENTER, INC., a California corporation; )
                               17   SATYA HEALTH OF CALIFORNIA,             )        FIRST AMENDED COMPLAINT
                                    INC., a California corporation; ADEONA  )        FOR
                               18   HEALTHCARE, INC., a California          )
                                    corporation; SOVEREIGN HEALTH OF        )        1. VIOLATION OF RICO, 18
                               19   FLORIDA, INC., a Delaware corporation; )            U.S.C. § 1962(c)
                                    SOVEREIGN HEALTH OF PHOENIX,            )
                               20   INC., a Delaware corporation;           )        2. CONSPIRACY TO VIOLATE
                                    SOVEREIGN HEALTH OF TEXAS, INC., )                  RICE, 18 U.S.C. §1962 (d)
                               21   a Delaware corporation; SHREYA          )
                                    HEALTH OF FLORIDA, INC., a Florida      )        3. INTENTIONAL
                               22   corporation; SHREYA HEALTH OF           )
                                    ARIZONA, INC. an Arizona corporation,   )           INTERFERENCE WITH
                               23   and VEDANTA LABORATORIES, INC., a )                 PROSPECTIVE ECONOMIC
                                    Delaware corporation,                   )           ADVANTAGE
                               24                                           )
                                                        Plaintiffs,         )        4. VIOLATION OF UNFAIR
                               25                                           )           COMPETITION LAW
                                             vs.                            )
                               26                                           )        5. SLANDER
                                    CENTENE CORPORATION, a Delaware )
                               27   corporation; MICHAEL NEIDORFF, an       )        DEMAND FOR JURY TRIAL
                                    individual; HEALTH NET LIFE             )
                               28   INSURANCE COMPANY, a California         )


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                                    corporation; MANAGED HEALTH                    )
                                1   NETWORK, INC., a Delaware corporation;         )
                                    LIANN GOHARI, an individual; OPTUM             )
                                2   SERVICES, INC., a Delaware corporation,        )
                                                                                   )
                                3                       Defendants.                )
                                4
                                5                                       PLAINTIFFS
                                6         1.     Plaintiff Dual Diagnosis Treatment Center, Inc. (“Dual Diagnosis”) is a
                                7   corporation organized and existing under the laws of California. Dual Diagnosis does
                                8   business as “Sovereign Health of California” and on occasion under other names as
                                9   permitted by law. Until July 2018, Dual Diagnosis operated and maintained mental
                               10   health and substance treatment facilities in California.
                               11         2.     Plaintiff Satya Health of California, Inc. (“Satya”) is a corporation duly
                               12   organized and existing under the laws of California. Satya does business as “Sovereign
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                               13   by the Sea II,” and on occasion under other names as permitted by law. Until July
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                               14   2018, Satya operated and maintained mental health treatment facilities in California,
                               15   providing detoxification treatment, residential treatment (RTC), partial hospitalization
                               16   program (PHP), intensive outpatient treatment (IOP), and outpatient treatment (OP).
                               17   Satya was licensed to treat patients with mental health and/or substance use disorders.
                               18         3.     Plaintiff Adeona Healthcare, Inc. (“Adeona”) is a corporation duly
                               19   organized and existing under the laws of California. Adeona does business as
                               20   “Sovereign Health Rancho/San Diego.” Until July 2018, Adeona operated and
                               21   maintained mental health treatment facilities in El Cajon California, providing RTC,
                               22   PHP and IOP treatment for children ages 12 through 17. Adeona was licensed to treat
                               23   patients with mental health and/or substance use disorders.
                               24         4.     Plaintiff Sovereign Health of Florida, Inc. (“Sovereign Florida”) is a
                               25   corporation duly organized and existing under the laws of Delaware. Until July 2018,
                               26   Sovereign Florida operated and maintained a mental health treatment facility in Fort
                               27   Myers, Florida, providing detox, RTC, PHP, IOP and OP treatment. Sovereign Florida
                               28   was licensed to treat patients with mental health and substance use disorders.

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                                1         5.     Plaintiff Sovereign Health of Phoenix, Inc. (“Sovereign Phoenix”) is a
                                2   corporation duly organized and existing under the laws of Delaware. Until July 2018,
                                3   Sovereign Phoenix operated and maintained a mental health facility in Chandler,
                                4   Arizona providing RTC, PHP, IOP and OP treatment. Sovereign Phoenix was licensed
                                5   to treat patients with mental health and/or substance use disorders.
                                6         6.     Plaintiff Sovereign Health of Texas, Inc. (“Sovereign Texas”) is a
                                7   corporation duly organized and existing under the laws of Delaware. Until July 2018,
                                8   Sovereign Texas operated and maintained a mental health facility in El Paso, Texas
                                9   providing detoxification treatment, RTC, PHP and IOP. Sovereign Texas was licensed
                               10   to treat patients with mental health and/or substance use disorders.
                               11         7.     Plaintiff Shreya Health of Florida, Inc. (“Shreya Florida”) is a corporation
                               12   duly organized and existing under the laws of Florida. Until July 2018, Shreya Florida
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                               13   was a billing entity for ancillary services rendered to patients treating at Sovereign
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                               14   Florida.
                               15         8.     Plaintiff Shreya Health of Arizona, Inc. (“Shreya Arizona”) is a
                               16   corporation duly organized and existing under the laws of Arizona. Until July 2018,
                               17   Shreya Arizona was a billing entity for ancillary services provided to patients treating
                               18   at Sovereign Phoenix.
                               19         9.     Vedanta Laboratories, Inc. (“Vedanta”) is a corporation duly organized
                               20   and existing under the laws of Delaware. Vedanta was authorized to provide laboratory
                               21   services by COLA (formerly the Commission on Office Laboratory Accreditation), an
                               22   accreditation organization for clinical laboratories under the Clinical Laboratory
                               23   Improvement Amendments (CLIA) program. Until July 2018, Vedanta conducted
                               24   laboratory testing services for the plaintiffs.
                               25         10.    Collectively plaintiffs are referred to as “Sovereign” or “Plaintiffs.”
                               26                                        DEFENDANTS
                               27         11.    Defendant Centene Corporation (“Centene”) is a corporation duly
                               28   organized and existing under the laws of Delaware, and a Fortune 500 company, with

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                                1   its headquarters in St. Louis, Missouri. Centene is the parent company of Health Net.
                                2   Centene also has an office in Woodland Hills, California.
                                3         12.     Defendant Michael Neidorff (“Neidorff”) is, and at all relevant times was,
                                4   the CEO of Centene.
                                5         13.     Defendant Health Net Life Insurance Company (“Health Net”) is a
                                6   California corporation with its principal place of business at 21281 Burbank
                                7   Boulevard, Building B3, Woodland Hills, California. Health Net sells individual health
                                8   insurance policies in California.
                                9         14.     Defendant Managed Health Network, Inc. (“MHN”) is a Delaware
                               10   corporation with a principal place of business at 11931 Foundation Place, Building D,
                               11   Rancho Cordova, California 95670. MHN is the behavioral health subsidiary of
                               12   Health Net.
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                               13         15.     Defendant Liann Gohari (“Gohari”) is Vice President and Deputy General
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                               14   Counsel at Health Net.
                               15         16.     Defendant Optum Services, Inc. (“Optum”) is a Delaware corporation
                               16   with its principal place of business at 11000 Optum Circle, Eden Prairie, Minnesota.
                               17   Optum is a health services business serving the health care marketplace, including
                               18   payers and health care providers, and provides shared claim handling and processing
                               19   services. Optum sometimes operates as Optum and Optum Shared Solutions.
                               20         17.     Collectively Centene, Neidorff, Health Net, MHN, Gohari and Optum are
                               21   referred to as “Defendants.”
                               22                              JURISDICTION AND VENUE
                               23         18.     Jurisdiction is based on 18 U.S.C. §§1962, 1965 (Racketeer Influenced
                               24   and Corrupt Organizations) and 28 U.S.C. § 1367 (Supplemental Jurisdiction).
                               25         19.     Venue is proper in this judicial district pursuant to 28 U.S.C. §1391(b)(2)
                               26   and (c)(2). Health Net and MHN reside in this judicial district, all of the Defendants do
                               27   business in this judicial district, and much of the conduct that is the subject of this
                               28   lawsuit occurred within this judicial district.

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                                1                       PLAINTIFFS WERE AWARD-WINNING
                                2                            MENTAL HEALTH PROVIDERS
                                3         20.    Plaintiffs offered specialized treatment for mental health, substance abuse
                                4   and dual diagnosis disorders for adults and adolescents. In operation from 2009
                                5   through 2018, Plaintiffs had nine licensed treatment facilities in five states and
                                6   employed approximately twelve hundred (1,200) people in the United States, including
                                7   approximately sixty professionals with M.D. or PhD degrees. Plaintiffs have treated
                                8   thousands of patients across the country, with an independently verified track record of
                                9   success which far exceeds the industry average.
                               10         21.    Plaintiffs’ California facilities were licensed by the California Department
                               11   of Healthcare Services (DHCS) since 2009 for detoxification and residential treatment
                               12   and by the California Department of Social Services (DSS), since 2012, for Mental
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                               13   Health Treatment. Similarly, Plaintiffs’ facilities in Arizona, Florida, Texas and Utah
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                               14   were licensed by the appropriate agencies for treatment of mental health and substance
                               15   abuse disorders.
                               16         22.    Plaintiffs’ approach to addiction and mental health treatment was
                               17   consistent with best practices in the industry. Its facilities earned The Gold Seal of
                               18   Approval from The Joint Commission, an independent not-for-profit organization that
                               19   is the nation’s oldest and largest standard setting and accrediting body in health care.
                               20   The National Alliance of Mental Illness recognized Sovereign for providing “The Gold
                               21   Standard for Mental Health Treatment for patients in Orange County and throughout
                               22   the country.” Studies conducted in 2016 and 2017 by Harvard Medical School
                               23   Affiliate, McLean Hospital, consistently found that Plaintiffs’ residential patients were
                               24   up to two times sicker than those typically admitted to other accredited behavioral
                               25   healthcare providers and that Plaintiffs’ programs produced clinical outcomes up to
                               26   three times better than these comparable institutions.
                               27         23.    Plaintiffs were widely recognized behavioral health educators. Since
                               28   2015, the American Psychological Association authorized Plaintiffs and their staff to

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                                1   train licensed doctoral psychologists. The California Board of Behavioral Health
                                2   Sciences, the California Association of Alcohol/Drug Educators, the National
                                3   Association of Alcoholism and Drug Abuse Counsel and the Association for
                                4   Psychology, Post-Doctoral and Internship Centers approved Plaintiffs to provide
                                5   continued education to licensed professionals in the substance abuse field. The
                                6   University of Southern California sent its Master of Social Work students to receive
                                7   training at Sovereign facilities. Plaintiffs also provided continued education to lawyers
                                8   for the substance abuse requirement of MCLE.
                                9         24.    In 2015, Plaintiffs received an offer to purchase their business for $625
                               10   million.
                               11         25.    At all relevant times, Plaintiffs were “out-of-network” health care
                               12   providers with respect to Health Net. In other words, none of the Plaintiffs contracted
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                               13   with Health Net to provide mental health or substance use disorder treatment to
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                               14   patients with Health Net health insurance at a discounted rate pursuant to what is
                               15   commonly referred to as an “in-network” contract.
                               16                   HEALTH NET ENTERS THE ACA EXCHANGE
                               17         26.    Effective 2014, the Affordable Care Act (“ACA”) required health
                               18   insurance policies to provide ten categories of “essential health benefits,” including
                               19   mental health and substance abuse treatment. 42 U.S.C. § 18022. In addition, under the
                               20   ACA, states established on-line “exchanges,” where the new ACA-compliant policies
                               21   were marketed.
                               22         27.    In 2014, Health Net began marketing health insurance policies through
                               23   the exchanges. At the time, the terms of Health Net’s policies—designed to increase
                               24   Health Net’s market share—required payment to out-of-network mental health facility
                               25   claims for inpatient, residential or outpatient treatment based on 75% or 100% of the
                               26   billed amount. In contrast, most health insurance policies offered through the
                               27   exchanges required payment to out-of-network mental health facility claims for
                               28   inpatient, residential or outpatient treatment at a significantly lower rate.

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                                1         28.    Health Net had great success in the exchange market. In 2014 and 2015,
                                2   Health Net saw dramatic increases in the number of policyholders. As disclosed in
                                3   Health Net’s SEC filings, enrollment in individual policies in Health Net’s Western
                                4   Region increased 188.7 percent from year-end 2013 to year-end 2014, from
                                5   approximately 115,000 policyholders to 332,000 policyholders. In California alone,
                                6   enrollment increased 137.0 percent, from approximately 100,000 policyholders to
                                7   237,000 policyholders. According to Health Net, this significant increase was
                                8   primarily due to an increase in new individual policyholders from the ACA exchanges
                                9   in California and Arizona.
                               10         29.    Along with this huge increase in the number of policyholders, Health Net
                               11   saw an even more dramatic increase in the number and dollar amount of claims. In its
                               12   filings with the California Department of Insurance (“DOI”), Health Net disclosed that
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                               13   in 2014 it earned $233.5 million in premiums for California policies but incurred
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                               14   $345.5 million in claims, resulting in a loss of $112 million. In the following year,
                               15   2015, Health Net earned $189 million in premiums, but incurred $473 million in
                               16   claims, resulting in a loss of $284 million.
                               17         30.    The increase in the dollar amount of claims related to the treatment of
                               18   substance abuse was particularly dramatic. According to Health Net’s DOI filings,
                               19   from 2014 to 2015 its paid substance abuse claims in California increased 1,577
                               20   percent. Out-of-network substance abuse claims alone accounted for 42.7 percent of all
                               21   of Health Net’s claims in California in 2015 (i.e., $202,385,210 out of a total of
                               22   $473,970,047). The number of out-of-network behavioral health claims, which include
                               23   substance use disorder claims, were over 9,000 percent greater in 2015 than in-network
                               24   behavioral health claims. Health Net attributed this difference solely to the fact that
                               25   out-of-network claims were required to be paid at a percentage of billed charges rather
                               26   than at the much lower negotiated rate it paid to in-network providers.
                               27
                               28

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                                1                       HEALTH NET MERGES WITH CENTENE
                                2         31.    On July 2, 2015, Health Net announced that it had entered into a merger
                                3   agreement with Centene under which Centene would acquire 100% of Health Net. In
                                4   October 2015, Health Net’s stockholders voted to approve the adoption of the merger
                                5   agreement with Centene. When the deal was finalized, it was valued at $6.8 billion.
                                6         32.    In March 2016, the California DOI concluded its review of the merger
                                7   and granted conditional approval, mandating that Centene keep Health Net’s individual
                                8   policies on Covered California (the exchange marketplace in California under the
                                9   ACA), that Health Net ensure its networks of providers was adequate to meet the needs
                               10   of its insureds, and that Health Net make efforts to improve its ratings on the “report
                               11   card” issued to it by California Office of Patient Advocacy.
                               12         33.    Health Net’s CEO received a golden parachute worth $54,000,000 and its
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                               13   CFO received a golden parachute worth $23,400,000. Neidorff received total
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                               14   compensation of approximately $20.75 million in 2015 and $21.97 million in 2016.
                               15         34.    In July 2016, after the effective date of its merger with Health Net,
                               16   Centene could not long avoid disclosing to its shareholders that Health Net had
                               17   incurred $390 million in liabilities, which existed as of the March 24, 2016 merger
                               18   date, but had not been properly accounted for and disclosed. At least $140 million of
                               19   the undisclosed liabilities related to substance use disorder claims in California. The
                               20   increased liabilities were greater than Health Net’s entire pre-tax annual earnings for
                               21   any of the prior five years.
                               22         35.    In numerous public statements, Neidorff admitted that Centene knew
                               23   about Health Net’s liability prior to March 2016. Centene admitted in public filings
                               24   that Health Net’s liability existed prior to the acquisition date.
                               25            DEFENDANTS FALSELY ACCUSE PLAINTIFFS OF FRAUD
                               26                            TO HIDE HEALTH NET’S LOSSES
                               27         36.    Beginning during the second half of 2015, Defendants conspired to create
                               28   and implement a systematic campaign of targeting and refusing to pay or underpaying

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                                1   certain claims to stem the financial bleeding from Health Net’s PPO policies. Rather
                                2   than abide by the terms of Health Net’s policies and its duty of good faith and fair
                                3   dealing, and accept the losses which occurred as the result of Health Net’s policy
                                4   design, Defendants created a plan to resolve Health Net’s financial issues by arbitrarily
                                5   reducing or eliminating payments to out-of-network substance use disorder providers
                                6   in California.
                                7         37.    Defendants’ plan involved various steps to achieve the financial savings
                                8   they hoped for and had conveyed to shareholders. For example, Health Net instituted a
                                9   blanket policy of denying and underpaying claims for certain types of behavioral
                               10   health services. To implement the policy and ensure it was followed by claims
                               11   personnel, Health Net revised its claims handling manual to instruct claims personnel
                               12   on how these claims should be handled, denied, and underpaid.
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                               13         38.    Pursuant to Defendants’ plan, by November 2015, Health Net’s payments
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                               14   to California substance use disorder treatment centers became sporadic. The reduction
                               15   or elimination of benefit payments was not limited to Plaintiffs but was a uniform
                               16   practice put in place by Defendants impacting claims submitted by in excess of 1,000
                               17   California substance treatment centers.
                               18         39.    Plaintiffs are informed and believe that, in January 2016, Defendants
                               19   collaborated on a strategy regarding the outstanding claims by out-of-network
                               20   substance abuse providers. In furtherance of the plan, Defendants devised a fraudulent
                               21   scheme to advance a variety of false accusations against Plaintiffs and other out-of-
                               22   network substance abuse providers.
                               23         40.    As part of the scheme devised by Defendants, in January 2016, Health Net
                               24   instituted a special investigation unit (“SIU”) “audit” of Plaintiffs and all or
                               25   substantially all substance use disorder treatment centers in California as a pretext for
                               26   refusing to pay claims. Providers like Plaintiffs were placed on a SIU “watchlist.”
                               27   Defendants instructed claims personnel to re-route all claims from providers on the
                               28   “watchlist” to the out-of-network behavioral health SIU audit unit. This audit led to an

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                                1   exponential increase in the number of claims that Health Net refused to pay. Before
                                2   and after the merger was concluded in March 2016, Centene joined the scheme and
                                3   participated in the audit.
                                4         41.    In connection with the “audit” Gohari drafted a boiler plate form letter to
                                5   more than 1,000 treatment centers designed to hide the blanket policy of refusing to
                                6   pay certain claims and the policy of indiscriminately rerouting claims to SIU. Gohari
                                7   caused the letter to bear the signature of Health Net’s Director of SIU, Matthew
                                8   Ciganek, without Mr. Ciganek’s prior knowledge. The Ciganek letter imposed
                                9   unlawful and onerous burdens on providers regarding claim submission, requesting
                               10   extensive and unusual amounts of documentation in a short time frame (15 days). The
                               11   letter also stated that Health Net was suspending payment on claims previously
                               12   submitted and that Health Net was investigating alleged fraudulent practices.
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                               13         42.    In putting its fraudulent scheme into effect, Health Net falsely alleged in
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                               14   the Ciganek letter that the failure of out of network mental health and substance use
                               15   disorder treatment providers to collect the patients’ deductibles, copayments or co-
                               16   insurance could raise questions regarding false or fraudulent claims. Health Net’s 2015
                               17   and 2016 ACA policies, however, were coinsurance only policies with zero deductible
                               18   and zero copayments for out-of-network services. Moreover, it is impossible for
                               19   treatment providers to determine co-insurance before an insurer adjudicates the claim.
                               20   As a pretext for refusing to pay claims and to hide the blanket policies described
                               21   above, the Ciganek letter placed an impossible burden on providers by refusing to
                               22   adjudicate claims unless and until providers submitted proof of something
                               23   (coinsurance) that can only be determined after claim adjudication. Neidorff has also
                               24   publicly acknowledged that Health Net’s ACA policies did not include the cost-sharing
                               25   provisions (a co-payment or deductible for out-of-network services) of which
                               26   Ciganek’s letter demanded proof.
                               27         43.    The Ciganek letter also stated that eligibility under the Health Net policies
                               28   was limited to individuals who “permanently reside” in a defined California area.

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                                1   There is no such requirement in the policies. Health Net had the authority to approve
                                2   or deny enrollment applications, a process with which Plaintiffs had no involvement.
                                3   Under California law, in the event Health Net believed it had issued coverage on the
                                4   basis of a material misrepresentation on the application, its sole remedy was to rescind
                                5   coverage within two years. At no time during the relevant period has Health Net
                                6   rescinded a single policy issued in California on the basis that the policyholder did not
                                7   permanently reside in a defined California area. Defendants used these pretenses to
                                8   effect a fraudulent scheme and avoid paying valid claims by punishing providers and
                                9   insureds for acting within the terms of Health Net’s policies.
                               10         44.    The Ciganek letter also alleged that claim payment may not be
                               11   appropriate if improper payments (such as payment of premiums) or other
                               12   consideration has been made to patients “to induce procurement of services from your
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                               13   facility.” Neither federal nor California law, however, prohibits third-party premium
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                               14   payment or cost sharing assistance to prospective patients. Additionally, Health Net’s
                               15   policies did not contain any provision prohibiting third party premium payments. In
                               16   fact, Neidorff publicly acknowledged that the Health Net policies allowed third party
                               17   premium payments and stated that one of the key changes Centene was making was
                               18   placing “restrictions on third-party premium payments, which were not included in the
                               19   original 2016 offering.” Defendants’ premising all or any part of a “special
                               20   investigation” on conduct that Defendants acknowledged was permitted under the
                               21   policy language was not just disingenuous, but fraudulent.
                               22         45.    Defendants also developed a scheme to conceal Health Net’s under-
                               23   reserved substance use disorder treatment claims by introducing certain claims
                               24   procedures that assured none of Plaintiffs’ claims were paid. In May and June 2016,
                               25   Defendants revised the claims handling manual guideline to specifically provide that
                               26   Plaintiffs’ claims were not paid at a percentage of the billed amount but, instead, a
                               27   Medicare percent conversion factor. To conceal the new procedures, neither
                               28   policyholders nor providers were given notice of these changes in claims processing.

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                                1   Not paying the 75% or 100% reimbursement rate, and instead using the Medicare rate,
                                2   was a component of Defendants’ fraudulent scheme to retroactively resolve the
                                3   financial problems caused by their own “plan design flaws.”
                                4         46.    Plaintiffs are informed and believe that, in early 2016, Centene and Health
                                5   Net hired Optum to further Defendants’ fraudulent scheme. Centene, Health Net and
                                6   Optum attempted to manufacture evidence to support their false accusations.
                                7   Specifically, Defendants interviewed Plaintiffs’ former employees. During those
                                8   interviews, Defendants falsely accused Plaintiffs of a variety of unlawful, unethical
                                9   and immoral conduct for the purpose of inducing witnesses to, essentially, gossip,
                               10   including (1) opening facilities just to make money; (2) billing insurance companies
                               11   for services that were not provided; (3) double billing for services provided; (4) using
                               12   employees in India to create charts and medical records for patients; (5) pressuring
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                               13   employees to treat patients at a higher level of care than was medically indicated; (6)
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                               14   pressuring employees to alter patient diagnoses; (7) allowing patients to get pregnant
                               15   in treatment and then kicking them out; and (8) “human trafficking” by trading
                               16   patients.
                               17         47.    Defendants also exaggerated, mischaracterized, and falsely recorded the
                               18   substance of interviews. For example, Defendants falsely recorded that at least one
                               19   witness said Dr. Tonmoy Sharma, Plaintiffs’ then-CEO, was a flight risk and that he
                               20   had threatened a witness. In addition, Optum, on behalf of Defendants, offered to pay
                               21   the claims of other out-of-network substance abuse providers if they provided
                               22   “evidence” against Sovereign to support Defendants’ false accusations.
                               23         48.    Defendants also spoke to other health insurance companies to
                               24   “collaborate” on the false accusations Defendants were making against Plaintiffs.
                               25   Defendants shared this false information in an effort to convince other health insurance
                               26   companies to stop paying claims submitted by Plaintiffs. Optum specifically
                               27   participated in this “collaboration.”
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                                1         49.    Optum hired unqualified medical providers to conduct “medical
                                2   necessity” reviews of certain claims. These providers did not meet the written
                                3   standards set by Health Net. The providers were given a list of language to insert in
                                4   their reviews to deny the claims. They did not speak to the patients or to anyone at
                                5   Sovereign. They accessed medical records electronically but did not confirm or inquire
                                6   as to whether the records were complete. The providers applied outdated guidelines
                                7   created by a third-party vendor and did not know or inquire as to whether these
                                8   guidelines were consistent with the applicable plan or policy language.
                                9         50.    After the providers finished their reviews, Dr. Matthew Wong of Health
                               10   Net signed off on the reviews, without speaking with the providers or conducting any
                               11   review of his own. Health Net sent out denial letters based on these reviews and
                               12   signed Dr. Wong’s name on those letters, without his prior knowledge.
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                               13         51.    Defendants knew that they were obligated to pay the outstanding claims
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                               14   unless they were able to discredit Plaintiffs and/or force them out of business. In late
                               15   2016, Defendants initiated multiple meetings with law enforcement and regulatory
                               16   entities in an attempt to convince them to institute criminal proceedings against
                               17   Plaintiffs. Defendants repeated their blatantly false allegations, telling these entities:
                               18                a.     Plaintiffs were treating Health Net patients and “dumping” them on
                               19                       the street when insurance coverage was denied.
                               20                b.     Plaintiffs were about to close their facilities.
                               21                c.     Dr. Tonmoy Sharma was about to flee the country.
                               22                d.     Plaintiffs were using “cappers” and “runners” to solicit patients.
                               23         52.    Defendants met with the District Attorney in Los Angeles and Orange
                               24   County, as well as the California Department of Insurance, all of whom refused to act
                               25   on Defendants’ allegations. Determined to have criminal proceedings initiated against
                               26   Plaintiffs, Defendants created a Power Point presentation in which Defendants: falsely
                               27   accused Plaintiffs of the manufactured conduct described above; suggested “targets”
                               28   for criminal investigation; misrepresented the contents of interviews; and, suggested

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                                1   legal theories for criminal prosecution. This Power Point was presented to the FBI and
                                2   the U.S. Attorney in Orange County. Defendants specifically omitted, however, that
                                3   Plaintiffs had sued Defendants to recover the unpaid amounts.
                                4         53.    On the morning of June 13, 2017, based on the misrepresentations
                                5   presented by Defendants, more than 100 armed guards from the FBI, U.S. Department
                                6   of Health and Human Services, IRS, DHCS, and several other agencies,
                                7   simultaneously executed search warrants at six Sovereign locations across southern
                                8   California and the home of Dr. Tonmoy Sharma. Mental health patients and others
                                9   recovering from substance abuse addiction, as well as their counselors, medical care
                               10   providers, and Sovereign employees, were physically escorted from their rehabilitative
                               11   activities and ordered to line up while government agents seized business and personal
                               12   documents. Agents, some with weapons drawn, immediately separated patients from
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                               13   employees, confining employees to conference rooms and lobbies and forcing patients,
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                               14   many suffering from PTSD and anxiety, to stand outside with armed agents. Patients
                               15   and employees were searched and interrogated; cell phones were confiscated.
                               16         54.    Defendants ultimately achieved its desired result: Over one hundred
                               17   patients left treatment on the day of the raid. Immediately thereafter, Plaintiffs’ bank
                               18   forced them to close their accounts. In furtherance of their goal to put Plaintiffs out of
                               19   business, Defendants arranged to have a reporter at the raid, who published articles in
                               20   local newspapers, repeating Defendants’ false allegations. These false allegations
                               21   were picked up by various other news outlets, landing additional blows against
                               22   Plaintiffs’ business. Patient admissions and revenue declined. As a result of
                               23   Defendants’ conduct, Plaintiffs were forced to close all nine of its facilities and layoff
                               24   nearly 1,200 employees.
                               25                CA DOI ORDERS HEALTH NET TO SHOW CAUSE
                               26         55.    On June 23, 2017, the DOI issued an Order to Show Cause (“OSC”) to
                               27   Health Net, stating that it had received hundreds of complaints from out-of-network
                               28   substance use disorder providers about Health Net’s handling of claims for treatment

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                                1   of Health Net policyholders. The OSC alleges that Health Net’s refusal to honor the
                                2   policy language, requiring reimbursement at 75% of billed charges, evidences unfair
                                3   claims practices, violations of the Mental Health Parity Act, and unfair and/or
                                4   deceptive act of practices in violation of California Insurance Code Section 790.03.
                                5         56.    Plaintiffs are informed and believe that Defendants misrepresented to the
                                6   DOI that it was resolving the claims of the out-of-network substance use disorder
                                7   treatment providers. In truth, Defendants have refused and failed to do so with respect
                                8   to Plaintiffs and others who have rightfully exercised their rights, as assignees of
                                9   Health Net policyholders, to pursue payment of the outstanding claims. In August
                               10   2017, the California DOI withdrew the OSC.
                               11         57.    On July 24, 2018, however, the DOI issued a new OSC alleging that
                               12   Health Net’s refusal to honor its policy language violates the law. The DOI stated that
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                               13   Health Net’s referral of all claims to its SIU unit “directly upon receipt of the claims
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                               14   payment request, prior to performing a reasonable review of the claim” and placing
                               15   providers “on an audit list and then require[ing them] to prove that they should be
                               16   removed from the list before any payment was made” “resulted in illegitimate denials
                               17   and delayed payment of claims” and “is an unreasonable standard for the
                               18   investigation and processing of claims.”
                               19         58.    On January 6, 2019, Health Net settled with the DOI for $1,025,000.
                               20                                FIRST CAUSE OF ACTION
                               21                       VIOLATION OF RICO, 18 U.S.C. § 1962(c)
                               22         59.    Plaintiffs incorporate by reference all paragraphs alleged above.
                               23         60.    Each of the Defendants is a “person” within the meaning of 18 U.S.C.
                               24   § 1961(3).
                               25         61.    Each of the Defendants together constitute an “enterprise” within the
                               26   meaning of 18 U.S.C. § 1961(4) and are referred to herein as “the enterprise.”
                               27         62.    Each of the Defendants has repeatedly and systematically conducted and
                               28   participated, directly and indirectly, in the conduct of the affairs of the enterprise

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                                1   through a pattern of “racketeering activity” consisting of two or more predicate acts in
                                2   furtherance of the above-described fraudulent scheme, in violation of 18 U.S.C. § 1341
                                3   (mail fraud) and 18 U.S.C. § 1343 (wire fraud).
                                4         63.    Pursuant to and in furtherance of their fraudulent scheme, each of the
                                5   Defendants knowingly and willfully used and caused to be used the United States mail
                                6   and/or interstate wires to commit multiple acts, including:
                                7                a.    Conducting an unfounded and fraudulent audit of legitimate claims
                                8         for treatment of Health Net policyholders submitted by Plaintiffs and other out
                                9         of network mental health and substance use disorder providers;
                               10                b.    “Pending” indefinitely the review of legitimate claims for the
                               11         treatment of Health Net policyholders, without a good faith investigation into
                               12         whether the claims were covered by the applicable policy, and without
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                               13         informing Plaintiffs or the policyholders of the status of those claims;
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                               14                c.    Failing and refusing to pay legitimate claims for treatment of
                               15         Health Net policyholders submitted by Plaintiffs on the ground that a referral fee
                               16         was paid for the placement of the policyholder, without a legitimate basis for
                               17         using the payment of a referral fee as an excuse for failing to pay a claim,
                               18         without a good faith investigation into whether the claims were covered by the
                               19         applicable policy, and without informing Plaintiffs or the policyholders of the
                               20         status of those claims;
                               21                d.    Failing and refusing to pay Plaintiffs’ legitimate claims for
                               22         treatment of Health Net policyholders absent proof that the patients first paid
                               23         amounts that they were not required to pre-pay and/or that could not be
                               24         determined until Health Net paid the legitimate claims;
                               25                e.    Failing and refusing to pay Plaintiffs’ legitimate claims for
                               26         treatment of Health Net policyholders on the grounds that premiums were paid
                               27         by Plaintiffs or third parties, despite no ban on third party payment of premiums
                               28         in the applicable policies or under the law;

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                                                               FIRST AMENDED COMPLAINT
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                                1                f.      Offering to pay the claims of other out-of-network substance abuse
                                2         providers if they offered “evidence” against Plaintiffs;
                                3                g.      Contacting other insurance companies to share false accusations
                                4         and encourage them to stop paying Plaintiffs’ claims;
                                5                h.      Using an inappropriate and unlawful calculation for the amount
                                6         owed on paid claims;
                                7                i.      Falsely reporting to law enforcement that Plaintiffs had engaged in
                                8         unlawful conduct;
                                9                j.      Falsely reporting to law enforcement that Plaintiffs’ principal was a
                               10         flight risk;
                               11                k.      Interfering with the payment of Plaintiffs’ legitimate claims for
                               12         patients who did not have Health Net policies.
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                               13                l.      Persisting in its refusal to pay thousands of valid and covered
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                               14         claims after and despite DOI’s findings described above and Defendants’
                               15         representations to DOI that it was resolving these claims.
                               16         64.    Defendants used or caused to be used the United States mail and/or
                               17   interstate wires in creating, implementing, and concealing from Plaintiffs a blanket
                               18   policy of denying, permanently “pending” and refusing to pay, and underpaying valid
                               19   and covered claims of a certain type or from certain providers including Plaintiffs
                               20   without any investigation into the merits of such claims by, for example:
                               21                a.      Mailing letters to Plaintiffs, patients, and other providers with
                               22         boilerplate language misrepresenting Defendants’ rationale for investigating
                               23         and/or refusing to pay claims, the purpose of which was to mislead and conceal
                               24         Defendants’ fraudulent scheme and the wrongful policies described above, and
                               25         misrepresenting that the letters complied with applicable law and regulations;
                               26                b.      Distributing claims handling guidelines to claims personnel
                               27         outlining the blanket policies of denying, underpaying, refusing to pay, and
                               28         referring to SIU claims of a certain type or from certain providers, including

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                                1         Plaintiffs, without independently investigating the merits of such claims or the
                                2         validity of any accusations against Plaintiffs;
                                3                c.     Sending claims and medical records to Optum to conducting
                                4         inadequate and fraudulent medical reviews to manufacture support for the
                                5         knowingly wrongful refusal to pay claims that were valid and covered; and
                                6                d.     Affixing Dr. Matthew Wong’s signature to denial letters with his
                                7         knowledge, and sending the letters through mail or electronic mail, to Plaintiffs
                                8         and their Health Net patients.
                                9         65.    The enterprise’s fraudulent scheme, as described above, has continued for
                               10   a substantial period and is ongoing. It began in 2015 and continues today, five years
                               11   later, thus amounting to continuing fraudulent activity and posing a threat of such
                               12   fraudulent activity continuing into the future. Further, these acts demonstrate
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                               13   Defendants’ ongoing and regular way of doing business.
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                               14         66.    The enterprise is engaged in, and its activities affect, interstate commerce.
                               15         67.    As a direct and proximate result of the above-described pattern of
                               16   racketeering activity, the enterprise damaged Plaintiffs in an amount to be proven at
                               17   trial by causing Plaintiffs to close its operations.
                               18         68.    Plaintiffs are entitled to an injunction requiring each of the Defendants to
                               19   cease the conduct alleged in this cause of action, treble damages, costs of litigation,
                               20   and reasonable attorney fees pursuant to 18 U.S.C. § 1964 and applicable law.
                               21                               SECOND CAUSE OF ACTION
                               22                CONSPIRACY TO VIOLATE RICO, 18 U.S.C. § 1962(d)
                               23         69.    Plaintiffs incorporate by reference all paragraphs alleged above.
                               24         70.    Each of the Defendants is a “person” within the meaning of 18 U.S.C.
                               25   § 1961(3).
                               26         71.    Each of the Defendants together constitute an “enterprise” within the
                               27   meaning of 18 U.S.C. § 1961(4) and are referred to herein as “the enterprise.”
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                                                                FIRST AMENDED COMPLAINT
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                                1         72.    The enterprise engaged in a pattern of “racketeering activity” consisting
                                2   of two or more predicate acts in furtherance of the above-described fraudulent scheme,
                                3   in violation of 18 U.S.C. § 1341 (mail fraud) and 18 U.S.C. § 1343 (wire fraud).
                                4         73.    Each of the Defendants deliberately joined “the enterprise” with
                                5   knowledge of its purpose.
                                6         74.    Pursuant to and in furtherance of their fraudulent scheme, each of the
                                7   Defendants knowingly and willfully agreed that “the enterprise” would be used or
                                8   cause to be used the United States mail and/or interstate wires to commit multiple acts,
                                9   including
                               10                a.    Conducting an unfounded and fraudulent audit of legitimate claims
                               11         for treatment of Health Net policyholders submitted by Plaintiffs and other out
                               12         of network mental health and substance use disorder providers;
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                               13                b.    “Pending” indefinitely the review of legitimate claims for the
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                               14         treatment of Health Net policyholders, without a good faith investigation into
                               15         whether the claims were covered by the applicable policy, and without
                               16         informing Plaintiffs or the policyholders of the status of those claims;
                               17                c.    Failing and refusing to pay legitimate claims for treatment of
                               18         Health Net policyholders submitted by Plaintiffs on the ground that a referral fee
                               19         was paid for the placement of the policyholder, without a legitimate basis for
                               20         using the payment of a referral fee as an excuse for failing to pay a claim,
                               21         without a good faith investigation into whether the claims were covered by the
                               22         applicable policy, and without informing Plaintiffs or the policyholders of the
                               23         status of those claims;
                               24                d.    Failing and refusing to pay Plaintiffs’ legitimate claims for
                               25         treatment of Health Net policyholders absent proof that the patients first paid
                               26         amounts that they were not required to pre-pay and/or that could not be
                               27         determined until Health Net paid the legitimate claims;
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                                                                FIRST AMENDED COMPLAINT
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                                1                e.     Failing and refusing to pay Plaintiffs’ legitimate claims for
                                2         treatment of Health Net policyholders on the grounds that premiums were paid
                                3         by Plaintiffs or third parties, despite no ban on third party payment of premiums
                                4         in the applicable policies or under the law;
                                5                f.     Offering to pay the claims of other out-of-network substance abuse
                                6         providers if they offered “evidence” against Plaintiffs;
                                7                g.     Contacting other insurance companies to share false accusations
                                8         and encourage them to stop paying Plaintiffs’ claims;
                                9                h.     Using an inappropriate and unlawful calculation for the amount
                               10         owed on paid claims;
                               11                i.     Falsely reporting to law enforcement that Plaintiffs had engaged in
                               12         unlawful conduct;
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                               13                j.     Falsely reporting to law enforcement that Plaintiffs’ principal was a
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                               14         flight risk; and
                               15                k.     Interfering with the payment of Plaintiffs’ legitimate claims for
                               16         patients who did not have Health Net policies.
                               17         75.    The enterprise’s fraudulent scheme, as described above, has continued for
                               18   a substantial period and is ongoing.
                               19         76.    The enterprise is engaged in, and its activities affect, interstate commerce.
                               20         77.    As a direct and proximate result of the above-described pattern of
                               21   racketeering activity, the enterprise damaged Plaintiffs in an amount to be proven at
                               22   trial by causing Plaintiffs to close its operations.
                               23         78.    Plaintiffs are entitled to an injunction requiring each of the Defendants to
                               24   cease the conduct alleged in this cause of action, treble damages, costs of litigation,
                               25   and reasonable attorney fees pursuant to 18 U.S.C. § 1964 and applicable law.
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                                1                               THIRD CAUSE OF ACTION
                                2                          INTENTIONAL INTERENCE WITH
                                3                     PROSPECTIVE ECONOMIC ADVANTAGE
                                4         79.    Plaintiffs incorporate by reference all paragraphs alleged above.
                                5         80.    Beginning in 2013, Plaintiffs had an economic relationship with Health
                                6   Net policyholders who exercised their right to use their out-of-network benefit to
                                7   obtain mental health and substance use disorder treatment. Pursuant to that
                                8   relationship, Plaintiffs provided treatment to those patients and billed Health Net for
                                9   that treatment. Defendants were aware of Plaintiffs’ economic relationship with Health
                               10   Net policyholders.
                               11         81.    In late 2015 or early 2016, Defendants decided that they wanted to
                               12   discourage policyholders from exercising their rights to utilize their out-of-network
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                               13   benefits to obtain behavioral health treatment from Plaintiffs. In addition, Defendants
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                               14   wanted to avoid the requirements of Health Net’s policy designs. To accomplish these
                               15   goals, Defendants engaged in the following unlawful acts, among others, designed to
                               16   disrupt the relationship between Plaintiffs and Health Net policyholders:
                               17                a.      Defendants “pended” and referred all claims submitted by
                               18         Plaintiffs to Defendants’ Special Investigations Unit, prior to performing a
                               19         reasonable review of the claim. This conduct is an unreasonable standard for
                               20         the investigation and processing of claims, in violation of California Ins. Code
                               21         § 790.03(h)(3) & (5) and §10123.13, and Cal. Code of Regs., tit. 10,
                               22         § 2695.7(d).
                               23                b.      Health Net sent Plaintiffs letters stating that payment of claims
                               24         was contingent on submission of extensive documentation and attestation of
                               25         certain facts, many of which were irrelevant to the processing of the claims.
                               26         This conduct constituted an unlawful failure to conduct and diligently pursue
                               27         a thorough, fair and objective investigation of claims and resulted in
                               28         unreasonable delays and denial of legitimate claims, in violation of California

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                                1         Ins. Code §790.03(h)(3) & (5) and §10123.13, and Cal. Code of Regs., tit. 10,
                                2         § 2695.7(d).
                                3               c.       Defendants refused to pay claims based on the clear policy
                                4         language, which required reimbursement at 75% or 100% of billed charges,
                                5         but instead substituted a bundled per diem Medicare rate for an entirely
                                6         different service furnished by an entirely different type of facility. This
                                7         conduct was a misrepresentation of the applicable policy language and
                                8         resulted in underpayment and unfair processing of claims, in violation of
                                9         California Ins. Code § 790.03(h) (3) & (5) and §10123.13, and Cal. Code of
                               10         Regs., tit. 10, § 2695.7(d).
                               11               d.       Defendants refused to pay any amount on the vast majority of
                               12         claims submitted by Plaintiffs, despite the fact that the treatment had been
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                               13         authorized, was properly provided and was medically necessary, in violation
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                               14         of California Ins. Code § 796.04.
                               15               e.       Defendants falsely accused Plaintiffs of illegal conduct,
                               16         damaging the good name and reputation of Plaintiffs, and causing Health Net
                               17         policyholders and others to stop seeking treatment from Plaintiffs.
                               18               f.       Defendants reached out to other insurance companies, shared
                               19         their false accusations, and encouraged them to stop paying claims submitted
                               20         by Plaintiffs.
                               21               g.       Defendants’ conduct was targeted at behavioral health providers,
                               22         not providers of medical/surgical benefits, in violation of Federal Mental
                               23         Health Parity and Addiction Equity Act of 2008, and the California Mental
                               24         Health Parity Act, California Ins. Code §§ 10112.27(a)(2)(D) and 10144.4.
                               25         82.   As a direct result of the conduct of Defendants, Plaintiffs were unable to
                               26   continue treating Health Net policyholders.
                               27
                               28

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                                1          83.    In 2018, as a further direct result of the conduct of Defendants, Plaintiffs
                                2   were unable to sustain their operations, and were forced to close their treatment
                                3   facilities.
                                4          84.    Plaintiffs have been damaged in an amount to be determined at trial, but
                                5   which exceeds $625,000,000.00.
                                6          85.    Defendants’ conduct, described herein, was intended to cause injury to
                                7   Plaintiffs or was carried out with a willful and conscious disregard of the rights of
                                8   Plaintiffs, subjected Plaintiffs to cruel and unjust hardship in conscious disregard to its
                                9   rights, and was an intentional misrepresentation, deceit, or concealment of a material
                               10   fact known to Defendants with the intention to deprive Plaintiffs of property, legal
                               11   rights, or to otherwise cause injury, such as to constitute malice oppression or fraud
                               12   under California Civil Code section 3294, thereby entitling Plaintiffs to punitive
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                               13   damages in an amount appropriate to punish or set an example of Defendants.
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                               14                               FOURTH CAUSE OF ACTION
                               15                      VIOLATION OF UNFAIR COMPETITION LAW,
                               16                       BUSINESS AND PROFESSIONS CODE §17200
                               17          86.    Plaintiffs incorporate by reference all paragraphs alleged above.
                               18          87.    Defendants’ conduct, as set forth above, was unlawful, unfair and
                               19   constitutes fraudulent business practices or acts.
                               20          88.    Defendants engaged in the following unlawful, unfair and fraudulent
                               21   conduct, among others:
                               22                 a.      Defendants “pended” and referred all claims submitted by Plaintiffs
                               23          to Defendants’ Special Investigations Unit, prior to performing a reasonable
                               24          review of the claim. This conduct is an unreasonable standard for the
                               25          investigation and processing of claims, in violation of California Ins. Code
                               26          § 790.03(h)(3) & (5) and §10123.13, and Cal. Code of Regs., tit. 10,
                               27          § 2695.7(d).
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                                1                b.      Defendants sent Plaintiffs letters stating that payment of claims was
                                2         contingent on submission of extensive documentation and attestation of certain
                                3         facts, many of which were irrelevant to the processing of the claims. This
                                4         conduct constituted an unlawful failure to conduct and diligently pursue a
                                5         thorough, fair and objective investigation of claims and resulted in unreasonable
                                6         delays and denial of legitimate claims, in violation of California Ins. Code
                                7         §790.03(h)(3) & (5) and §10123.13, and Cal. Code of Regs., tit. 10, § 2695.7(d).
                                8                c.      Defendants refused to pay claims based on the clear policy
                                9         language, which required reimbursement at 75% or 100% of billed charges, but
                               10         instead substituted a bundled per diem Medicare rate for an entirely different
                               11         service furnished by an entirely different type of facility. This conduct was a
                               12         misrepresentation of the applicable policy language and resulted in
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                               13         underpayment and unfair processing of claims, in violation of California Ins.
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                               14         Code § 790.03(h) (3) & (5) and §10123.13, and Cal. Code of Regs., tit. 10,
                               15         § 2695.7(d).
                               16                d.      Defendants refused to pay any amount on the vast majority of
                               17         claims submitted by Plaintiffs, despite the fact that the treatment had been
                               18         authorized, was properly provided and was medically necessary, in violation of
                               19         California Ins. Code § 796.04.
                               20                e.      Defendants’ conduct was targeted at behavioral health providers,
                               21         not providers of medical/surgical benefits, in violation of Federal Mental Health
                               22         Parity and Addiction Equity Act of 2008, and the California Mental Health
                               23         Parity Act, California Ins. Code §§ 10112.27(a)(2)(D) and 10144.4.
                               24         89.    As a direct and proximate results of Defendants’ unlawful, fraudulent and
                               25   unfair business practices, Plaintiffs have suffered and will continue to suffer
                               26   substantial monetary losses and irreparable injury. Plaintiffs do not have an adequate
                               27   remedy at law and will continue to suffer irreparable harm if an injunction does not
                               28   issue ordering Defendants to stop their unlawful, fraudulent and unfair business

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                                1   practices. Plaintiffs are entitled to an injunction under California Business and
                                2   Professions Code § 17203.
                                3         90.    Defendants have been unjustly enriched by their unlawful, fraudulent and
                                4   unfair business practices. Plaintiffs seek restitution in an amount to be proved at trial.
                                5                                FIFTH CAUSE OF ACTION
                                6                                     SLANDER PER SE
                                7         91.    Plaintiffs incorporate by reference all paragraphs alleged above.
                                8         92.    In or about December 2016, Defendants communicated and/or met with
                                9   representatives from other health insurance carriers, including Anthem and Cigna. In
                               10   those communications and/or meetings, Defendants made statements that falsely
                               11   accused Plaintiffs of illegal and unethical business conduct. These statements
                               12   constitute slander per se under California Civil Code § 46 (1) and (3).
Northridge, California 91324




                               13         93.    Defendants did not fully reveal these private communications until
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                               14   October 2019.
                               15         94.    As a direct result of the conduct of Defendants, Plaintiffs were unable to
                               16   sustain their operations, and were forced to close their treatment facilities. As a result,
                               17   Plaintiffs have been damaged in an amount to be determined at trial, but which exceeds
                               18   $625,000,000.00.
                               19         95.    Defendants’ conduct, described herein, was intended to cause injury to
                               20   Plaintiffs or was carried out with a willful and conscious disregard of the rights of
                               21   Plaintiffs, subjected Plaintiffs to cruel and unjust hardship in conscious disregard to its
                               22   rights, and was an intentional misrepresentation, deceit, or concealment of a material
                               23   fact known to Defendants with the intention to deprive Plaintiffs of property, legal
                               24   rights, or to otherwise cause injury, such as to constitute malice oppression or fraud
                               25   under California Civil Code section 3294, thereby entitling Plaintiffs to punitive
                               26   damages in an amount appropriate to punish or set an example of Defendants.
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                                1                               REQUEST FOR RELIEF
                                2         WHEREFORE, Plaintiffs pray for judgment against Defendants as follows:
                                3         1.    Damages in an amount to be determined at the time of trial but in excess
                                4   of $625,000,000, plus interest, including prejudgment interest;
                                5         2.    General damages and other incidental damages;
                                6         3.    Treble damages under RICO;
                                7         4.    Punitive and exemplary damages in an amount in excess of $500,000,000;
                                8         5.    Injunctive relief requiring Defendants to ease engaging in unlawful, unfair
                                9   and fraudulent business acts and practices;
                               10         6.    Reasonable attorney fees as allowed by law;
                               11         7.    Costs of suit incurred herein; and
                               12         8.    Such other and further relief as the Court deems just and proper.
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                               14   Dated: August 13, 2020          KANTOR & KANTOR, LLP
                                                                    LISA S. KANTOR
                               15                                   TIMOTHY J. ROZELLE
                               16                                   DAWSON & ROSENTHAL, P.C.
                                                                    STEVEN C. DAWSON
                               17                                   ANITA ROSENTHAL
                                                                    SANDER DAWSON
                               18
                                                                    By:    /s/ Lisa S. Kantor
                               19                                         Lisa S. Kantor,
                                                                          Attorneys for Plaintiffs, Dual Diagnosis
                               20                                         Treatment Center, Inc., Satya Health of
                                                                          California, Inc., Adeona Healthcare, Inc.,
                               21                                         Sovereign Health of Florida, Inc., Sovereign
                                                                          Health of Phoenix, Inc., Sovereign Health of
                               22                                         Texas, Inc, Shreya Health of Florida, Inc.,
                                                                          Shreya Health of Arizona, Inc., Vedanta
                               23                                         Laboratories, Inc.
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                                1                             DEMAND FOR JURY TRIAL
                                2         Plaintiffs hereby demand a trial by jury.
                                3
                                4   Dated: August 13, 2020          KANTOR & KANTOR, LLP
                                                                    LISA S. KANTOR
                                5                                   TIMOTHY J. ROZELLE
                                6                                   DAWSON & ROSENTHAL, P.C.
                                                                    STEVEN C. DAWSON
                                7                                   ANITA ROSENTHAL
                                                                    SANDER DAWSON
                                8
                                9                                   By:     /s/ Lisa S. Kantor
                                                                           Lisa S. Kantor,
                               10                                          Attorneys for Plaintiffs, Dual Diagnosis
                                                                           Treatment Center, Inc., Satya Health of
                               11                                          California, Inc., Adeona Healthcare, Inc.,
                                                                           Sovereign Health of Florida, Inc., Sovereign
                               12                                          Health of Phoenix, Inc., Sovereign Health of
                                                                           Texas, Inc, Shreya Health of Florida, Inc.,
Northridge, California 91324




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                                                                           Shreya Health of Arizona, Inc., Vedanta
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                                                                           Laboratories, Inc.
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                                                              FIRST AMENDED COMPLAINT
